     Case 2:13-cr-06070-SAB        ECF No. 79         filed 03/18/24   PageID.293   Page 1 of 2




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 3

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6
                                    United States District Court
                                   Eastern District of Washington
 7
                                  The Honorable Stanley A. Bastian
8
      United States,                                      No. 2:13-CR-6070-SAB
9
                              Plaintiff,                  Notice of Appearance
10
            v.
11
      Kenneth Richard Rowell,
12                        Defendant.

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     Case 2:13-cr-06070-SAB       ECF No. 79       filed 03/18/24   PageID.294    Page 2 of 2




 1          Please take notice that Juliana M. Van Wingerden, of the Federal Defenders of

2     Eastern Washington and Idaho hereby enters her appearance as counsel of record in

 3    this matter. All future correspondence and court filings should be forwarded directly to

4     the address listed above.

 5    Dated: March 18, 2024.
                                       Federal Defenders of Eastern Washington & Idaho
6                                      Attorneys for Kenneth Richard Rowell

 7                                     s/ Juliana M. Van Wingerden
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11

12                                         Service Certificate

13         I certify that on March 18, 2024, I electronically filed the foregoing with the

14    Clerk of the Court using the CM/ECF System, which will notify Assistant United

15    States Attorney: Earl Allan Hicks.

16                                     s/ Juliana M. Van Wingerden
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                                           Notice of Appearance
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